525 F.2d 687
    91 L.R.R.M. (BNA) 2176, 78 Lab.Cas.  P 11,209
    TAFT BROADCASTING COMPANY, Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 75--1165.
    United States Court of Appeals,Sixth Circuit.
    Oct. 6, 1975.
    
      1
      Robert W. Maxwell, II, Cincinnati, Ohio, for appellant.
    
    
      2
      Elliott Moore, Deputy Associate Gen. Counsel, N.L.R.B., Robert A. Giannasi, Washington, D.C., for appellee.
    
    
      3
      Before PHILLIPS, Chief Judge, WEICK, Circuit Judge, and HARVEY,* District Judge.
    
    ORDER
    
      4
      This case is before the court upon the petition to review, and the cross-application of the Board to enforce, a decision and order reported at 216 N.L.R.B. No. 10.  Reference is made to the decision of the Board for a recitation of pertinent facts.
    
    
      5
      The court concludes that, under the circumstances of this case, substantial evidence on the record as a whole does not support the conclusion of the Board that Taft Broadcasting Company violated §§ 8(a)(1) and 8(a)(3) of the National Labor Relations Act by rescinding its authorization to pay the moving expenses of David Michaels and by failure to reimburse Michaels for such expenses.
    
    
      6
      It is ordered that the petition for review be granted, that the decision of the Board be set aside, and that enforcement be denied.
    
    
      7
      Entered by order of the court.
    
    
      
        *
         Honorable James Harvey, Judge, United States District Court for the Eastern District of Michigan, sitting by designation
      
    
    